          Case 1:23-mj-00069-LDA                 Document 1           Filed 10/26/23         Page 1 of 1 PageID #: 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    District of
                                                __________      RhodeofIsland
                                                             District   __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.      1:23-MJ-00069 LDA
             Jeffrey Locke Slinn (YOB: 1981)                      )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           July 14, 2023 - August 1, 2023      in the county of                                in the
                       District of        Rhode Island        , the defendant(s) violated:

            Code Section                                                    Offense Description
18 USC § 2422(b)                               Attempted Enticement of Minor
18 USC § 1470                                  Transfer of Obscene Material to a Minor




         This criminal complaint is based on these facts:
See the attached Affidavit of Special Agent Craig A. Graham, of the Federal Bureau of Investigation (FBI).




         ✔ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                                    Special Agent Craig A. Graham, FBI
                                                                                              Printed name and title

Sworn to before me and signed inTelephone
                                 my presence.


Date:
                       October 26, 2023                                                         Judge’s signature

City and state:                  Providence, Rhode Island                       Lincoln D. Almond, U.S. Magistrate Judge
                                                                                              Printed name and title
